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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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UNITED STATES OF AMERICA
: CONSENT PRELIMINARY ORDER
-Vi- OF FORFEITURE/
: MONEY JUDGMENT
MICHAEL SHVARTSMAN,
S123 Cr. 307 (LJL)
Defendant.
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WHEREAS, on or about February 6, 2024, MICHAEL SHVARTSMAN (the
“Defendant”), among others, was charged in a twelve-count Superseding Indictment, S1 23 Cr.
307 (LJL) (the “Indictment”), with, inter alia, securities fraud, in violation of Title 15, United
States Code, Sections 78j(b) and 78ff; Title 17, Code of Federal Regulations, Sections 240.10b-5;
and Title 18, United States Code, Section 2 (Count Three);

WHEREAS, the Indictment included a forfeiture allegation as to Count Three,
seeking forfeiture to the United States, pursuant to pursuant to Title 18, United States Code,
Section 981(a)(1)(C) and Title 28, United States Code, 2461(c), of any and all property, real and
personal, that constitutes or is derived from proceeds traceable to the commission of the offense
charged in Count Three of the Indictment, including but not limited to a sum of money in United
States currency representing the amount of proceeds traceable to the commission of the offense
charged in Count Three of the Indictment;

WHEREAS, on or about April 2, 2024, the Defendant pled guilty to Count Three
of the Indictment, pursuant to a plea agreement with the Government, wherein the Defendant
admitted the forfeiture allegation with respect to Count Three of the Indictment and agreed to
forfeit to the United States, any and all property, real and personal, that constitutes or is derived

from proceeds traceable to the commission of the offense charged in Count Three of the
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Indictment, including but not limited to (i) a sum of money in United States currency representing
the amount of proceeds traceable to the commission of the offense charged in Count Three of the
Indictment and (ii) all of his right, title and interest in the following property which constitutes
proceeds of the offense charged in Count Three of the Indictment that the Defendant personally
obtained:

a. any and all funds in account number 10511067, held in the name of EFT
Business Services LLC at SNB Bank, N.A.;

b. the vessel “Provocateur,” f/k/a “Ipanema,” bearing IMO Number 9802798 (the
“Provocateur”); and

c. three Yamaha Jet Skis tendered to the Provocateur

(a. through c., collectively, the “Specific Property”);
WHEREAS, the Defendant consents to the entry of a money judgment in the

amount of $18,200,000.00 in United States currency, representing the amount of proceeds
traceable to the offense charged in Count Three of the Indictment that the Defendant personally
obtained;

WHEREAS, the Defendant admits that, as a result of acts and/or omissions of the
Defendant, the proceeds traceable to the offense charged in Count Three of the Indictment that the
Defendant personally obtained, with the exception of the Specific Property, cannot be located upon
the exercise of due diligence; and

WHEREAS, in lieu of forfeiting the Specific Property, the Government agrees to
accept a payment in the amount of $18,200,000 in United States currency;

IT IS HEREBY STIPULATED AND AGREED, by and between the United States

of America, by its attorney Damian Williams, United States Attorney, Assistant United States
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Attorneys Daniel G. Nessim, Elizabeth A. Hanft, and Matthew R. Shahabian, of counsel, and the
Defendant and his counsel, Tai Park, Esq., Grant Smith, Esq., and Alan Futerfas, Esq., that:

1. As aresult of the offense charged in Count Three of the Indictment, to which
the Defendant pled guilty, a money judgment in the amount of $18,200,000.00 in United States
currency (the “Money Judgment”), representing the amount of proceeds traceable to the offense
charged in Count Three of the Indictment that the Defendant personally obtained, shall be entered
against the Defendant.

2. On or before the sentencing of the Defendant in this matter, the Defendant
shall make a payment on the Money Judgment to the Government in the amount of $18,200,000
(the “Payment’’).

3. Upon receipt of the Payment, the Government shall deem the Money
Judgment fully satisfied and the Government shall not seek to forfeit the Specific Property.

4, In the event the Defendant fails to make the Payment, the Money Judgment
will remain outstanding and the Government is authorized to obtain an order from this Court to
forfeiting all of the Defendant’s right, title and interest in the Specific Property.

5. Pursuant to Rule 32.2(b)(4) of the Federal Rules of Criminal Procedure, this
Consent Preliminary Order of Forfeiture/Money Judgment is final as to the Defendant MICHAEL
SHVARTSMAN, and shall be deemed part of the sentence of the Defendant, and shall be included
in the judgment of conviction therewith.

6. All payments on the outstanding Money Judgment shall be made by postal
money order, bank or certified check, made payable to the United States Marshals Service, and

delivered by mail to the United States Attorney’s Office, Southern District of New York, Attn:
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Illicit Finance and Money Laundering Unit, 26 Federal Plaza, 38" Floor, New York, New York
10278 and shall indicate the Defendant’s name and case number.

7. The United States Marshals Service is authorized to deposit the payments
on the Money Judgment into the Assets Forfeiture Fund, and the United States shall have clear
title to such forfeited property.

8. Pursuant to Title 21, United States Code, Section 853(p), the United States
is authorized to seek forfeiture of substitute assets of the Defendant up to the uncollected amount
of the Money Judgment.

9. Pursuant to Rule 32.2(b)(3) of the Federal Rules of Criminal Procedure, the
United States Attorney’s Office is authorized to conduct any discovery needed to identify, locate
or dispose of forfeitable property, including depositions, interrogatories, requests for production
of documents and the issuance of subpoenas.

10. The Court shall retain jurisdiction to enforce this Consent Preliminary Order
of Forfeiture/Money Judgment, and to amend it as necessary, pursuant to Rule 32.2 of the Federal

Rules of Criminal Procedure.

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11, The signature page of this Consent Preliminary Order of Forfeiture/Money
Judgment may be executed in one or more counterparts, each of which will be deemed an orivinal
but all of which together will constitute one and the same instrument.
AGREED AND CONSENTED TO:
DAMIAN WILLIAMS

United States Attorney for the “e
Souther Di istrict of New/Y ork < I

DANIEL GINESSIM- DATE
ELIZABETH A. HANFT

MATTHEW R. SHAHABIAN

Assistant United States Attorneys

26 Federal Plaza, 38" Floor

New York, NY 10278

(212) 637-2486

MICHAEL SHVARTSMAN

By! ss = {acl QL, Ux
ALAN FUTERFAS, ESQ.\

TAI PARK, ESQ. \ y DATE
GRANT SMITH, ESQ.
Attorneys for Defendant

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UNITED STATES piinicr JUDGE

